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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
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   IN RE:                                                            :
                                                                     : CASE NO.: 18-10073-mew
                                                                     :
    Kwang S. Lee,                                                    : CHAPTER: 11
                                                                     :
                                                                     : HON. JUDGE.: Michael E. Wiles
    Debtor.                                                          :
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                        STIPULATION REGARDING SALE OF PROPERTY
                      LOCATED AT 635 W. 42ND STREET, NEW YORK, NY 10036


         Whereas, on December 2, 2018, Kwang S. Lee (the “Debtor) filed a disclosure statement [ECF

 No. 56] and Chapter 11 Plan [ECF No. 57]; and

         Whereas, Debtor’s Plan indicated his intent to sell the property by March 1, 2019 and Secured

 Creditor would be paid in full; and

         Whereas, the sale of the property did not occur by March 1, 2019;

 NOW, it is hereby:

         ORDERED, that the property is to be sold by May 1, 2019; and it is further

         ORDERED, BSI Financial Services as servicer for US Bank Trust National Association, as trustee

 of Cabana Series III Trust (the “Secured Creditor”) will be paid in full on the closing date from a payoff

 which will be provided at closing; and it is further

         ORDERED, that if the sale is not conducted by May 1, 2019, Movant may submit an Ex-Parte

 Order Granting Relief from the Automatic Stay and waiving of the stay invoked pursuant to F.R.B.P.

 4001(a)(3). Upon issuance of the Ex-Parte Order, the Automatic Stay shall be deemed vacated with respect

 to the Movant, allowing the Movant, its agents, successors and/or assigns in interest to exercise all rights
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 available to it under applicable state law with respect to the real property known as 635 W. 42nd Street,

 New York, NY 10036, (the “Property”).




 By: _/s/Dong Sung Kim________                           Date: March 13, 2019
     Dong Sung Kim, Esq.
     Kim, Choi & Kim, P.C.
    460 Bergen Boulevard, Suite 206
    Palisades Park, NJ 07650



 By: _/s/Jonathan Schwalb________                        Date: March 13, 2019
     Jonathan Schwalb, Esq.
     Attorney for Secured Creditor
     85 Broad Street, Suite 501
     New York, NY 10004
